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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                     MDL 2724
 PRICING ANTITRUST LITIGATION                       16-MD-2724


 THIS DOCUMENT RELATES TO:                          HON. CYNTHIA M. RUFE

 ALL ACTIONS



         JOINDER OF DEFENDANTS PERRIGO NEW YORK, INC., PAR
 PHARMACEUTICAL, INC., AND MUTUAL PHARMACEUTICAL COMPANY, INC.
     TO CERTAIN DEFENDANTS’ RESPONSE IN OPPOSITION TO PRIVATE
  PLAINTIFFS’ MOTION FOR UNFETTERED ACCESS TO LAW ENFORCEMENT
                     INVESTIGATORY MATERIALS

       Defendants Perrigo New York, Inc. (“Perrigo”), Par Pharmaceutical, Inc. (“Par”), and

Mutual Pharmaceutical Company, Inc. (“Mutual”), by and through their undersigned counsel,

hereby join in the Response in Opposition to Private Plaintiffs’ Motion for Unfettered Access to

Law Enforcement Investigatory Materials (MDL Doc. No. 628) for the reasons set forth in Certain

Defendants’ submission. The absence of Perrigo, Par, and Mutual as joining Defendants on the

original Response submission was inadvertent.

Dated: July 10, 2018               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of July, 2018, I caused the foregoing Joinder to be

filed electronically with the Clerk of Court by using the CM/ECF system which will serve a copy

on all interested parties registered for electronic filing and is available for viewing and

downloading from the ECF system.

                                                           /s/ Tracey F. Milich
                                                           Tracey F. Milich




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